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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT




 JAKUBMADEJ
                                                    CIVIL ACTION No.      3: °J. 0CV I 3'"~ ( j (   \-\)
        Plaintiff,

 v.
                                                    JURY TRIAL DEMANDED
 YALE UNIVERSITY, MARVIN CHUN,
 MARK SCHENKER, PETER SALOVEY,
 JESSIE ROYCE HILL             JANUARY 30, 2020

        Defendants.




                             COMPLAINT AND JURY DEMAND



       Plaintiff Jakub Madej, a senior international student, completed seven semesters at Yale

College. He received full financial aid since his first semester, and worked as a research assistant

for two prominent faculty members since 2017. Jakub incorporated a consulting business in

February 2019 and reduced his then courseload to two classes. Unfortunately, Yale imposed an

academic warning on Jakub for the number of credits alone, not his grades, without notifying him

until mid-October, months into the fall semester.

       Jakub sustained a serious wrist injury in late October, followed by a surgery, whose

financial and logistical burden fell entirely on him. Jakub did not receive academic

accommodations he requested and was approved for, and ultimately received a failing grade in one

course. Yale dismissed Jakub a semester before graduation, though absent Yale's omissions he

would not be on warning, let alone withdrawn.



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        Upon return to campus in January, Jakub was given forty minutes to retrieve his property

from his old college dorm, was denied any meaningful opportunity to be heard, and only received

inconsistent, cursory statements whenever he tried to explain the situation. His college dean and

Yale administration refused to meet in person, or to disclose any policies, procedures, or standards

his case was decided on. Yale has never published withdrawal statistics, and provided no support

or appeal mechanism process to students who were forced to withdraw, including Jakub.

        Jakub wrote a petition detailing nine arguments against his withdrawal, an academic plan

showing he is still likely to graduate on time, delineated Yale's omissions, attached supporting

letters, and provided contact information to professors who can speak of Jakub's abilities. Yale

did not address Jakub's petition in any meaningful way, instead stalling for time knowing that

Jakub must leave the country in days before violated his immigration status. Yale knew Jakub was

treated for depression and attention deficit disorder for years, but provided little to no help in these

extremely vulnerable moments.

       Relentless and unsatisfied with Yale's treatment of his case, J akub traveled to Canada in a

rental car and returned using a visitor visa in his old, previously cancelled passport. He currently

relies on hospitality and generosity of his friends and professors but cannot continue his work,

education, or even use Yale's libraries for self-education.

       Jakub was never charged with violating University regulations yet received no treatment

granted to anyone investigated for disciplinary reasons; instead, he was given only 36 hours to

leave the country with no ability to appeal. Jakub's future was jeopardized because of

administration's arbitrary and capricious decision.




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                                JURISDICTION AND VENUE


1. Diversity jurisdiction lies with this Court because Plaintiff and Yale University are citizens of

   different states. Amount in controversy exceeds $314,159, which exceeds $75,000.

2. Personal jurisdiction lies with this Court because Yale University is a citizen of Connecticut.

3. Venue is proper because a substantial part of the events described took place in Connecticut.


                                            PARTIES


4. Yale University is a private university located in New Haven, Connecticut. Yale University is

   a tax-exempt 501(c)(3) organization managed by Yale Corporation. All actions described in

   this report concern Yale College, the University's only undergraduate school.

5. Jakub Madej is a Yale College senior student, a Polish citizen, and a resident of New Haven,

   Connecticut.

6. Upon knowledge and belief, Jessie Royce Hill ("Jessie Hill") resided at all times in New

   Haven, Connecticut. She has been Dean of Benjamin Franklin College, one of Yale's fourteen

   residential colleges, since the College first opened in 2017.

7. Upon knowledge and belief, Marvin Chun resided at all times in New Haven, Connecticut. He

   has been Dean of Yale College since July 2017.

8. Upon knowledge and belief, Mark Schenker resided at all times in New Haven, Connecticut.

   He continues to work as Dean for Academic Affairs at Yale College.

9. Upon knowledge and belief, Peter Salovey resided at all times in New Haven, Connecticut. He

   has been President of Yale University since July 2013 .


                                             FACTS



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Jakub's First Years in America Were Fundamental in Shaping His Mindset and Future

Plans


10. Jakub graduated from a British boarding school in southeast London, achieving top marks at

   A Levels, UK's main school leaving examination. He moved to England after receiving a

   prestigious scholarship for his academic achievements, which covered his tuition.

11. Jakub previously attended a top public high school in Poland, the country of his birth. He

   excelled in foreign languages, including Spanish, French, Russian, and Italian. He continues

   to be fluem in all four.

12. Jakub enrolled at Yale College in August 2016 and completed seven consecutive terms,

   obtaining a total of twenty-nine credits. Yale requires thirty-six credits for graduation. Most

   undergraduates graduate in eight semesters, or four years.

13. Since 2016, Jakub continuously worked as a research assistant for a prominent Nobel Prize-

   winning faculty member. Jakub's employment was extended three times at professor's request;

   he also acknowledged Jakub's contributions in his most recent book.

14. Jakub has been financially independent for over two years, by his own volition, and does not

   receive any funds from friends or family. He qualified and received full financial aid (no parent

   contribution) at all times at Yale.

15. J akub worked at Yale between 17 and 19 hours a week in the last three years, earning funds

   necessary to support his entrepreneurial plans.

16. Jakub has been treated for depression twice during his time at Yale. He has been on medication

   for depression and attention deficit disorder since early 2018, without interruption.




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Yale "Forgot" to Notifv Jakub about Academic Warning it Imposed For no Apparent

Purpose


17. Jakub inadvertently learned in October 2019 that he was placed on academic warning months

   earlier because he completed only two credits in the spring 2019 semester. Academic warning

   is imposed on underperforming students who struggle academically; for example, those who

   receive three failing grades. Jakub's academic warning was imposed not for his grades or class

   performance, but for completing only two courses in that particular semester.

18. Jakub obtained eleven credits his sophomore year; an average student completes nine credits a

   year. Jakub started the spring 2019 semester with five classes but gradually reduced his

   courseload to two, as he wanted to fully concentrate on his new consulting business that he

   spent over sixty hours a week on.

19. Yale first notified Jakub about the academic warning after the Registrar realized in mid-

   October, halfway through the semester, that Jakub was erroneously enrolled in a course that

   required prior registration. Jakub was unaware that any approval was necessary; the course

   syllabus made no such mention, no official application was required, and Jakub's course

   schedule was approved at all stages. Absent this unplanned event, Yale would likely not notify

   Jakub about the warning it imposed on him until he would be withdrawn.

20. Had Yale notified him about academic warning in a timely manner, he would easily remediate

   his status by enrolling in a half-semester course, or not withdrawing from another class he

   dropped earlier. Students frequently enroll in half-semester classes that start only at the end of

   March; Jakub completed three such short courses before, and achieved grades of A or A- in all

   of them.




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21. Jessie Hill claimed that she sent a letter to Jakub informing him about AW in May but admitted

    not doing so when challenged. Mark Schenker claimed months later that she passed the letter

    to Jakub in August, which was also untrue.

22. Course schedules with fewer than three credits must be approved by student's college dean; all

    schedules and changes to schedules must submitted in person to college dean or their assistant.

    Jakub never received any notice, verbally or in writing, from his dean, dean's assistant, or

    anyone else, that he would self-impose an academic warning by submitting the schedule. Yale

    alleged in January 2020, nine months after the supposed event, that his dean's assistant stated

    this fact clearly but provided no details as to when, or how such an event might have happened.

23. No reasonable student can be expected to impose an academic warning onto themselves if he

    or she understands the consequences of such a decision, and can easily make an alternative

    decision that avoids the warning.


Jakub Sustained an Open Wrist Iniurv in October, Followed bv a Surgerv and Month-Jong

Recovery


24. Jakub sustained a serious wrist injury in late October 2019. He was referred to the emergency

   department of Yale-New Haven Hospital ("Yale-NHH") where he received narcotic

   painkillers, had his wrist reset, and put into a cast. The Hospital staff scheduled a surgery for

   two weeks later. At all times Jakub had to arrange all visits himself, i.e. without any support

   of Yale University.

25. Jakub's emergency hospital bill was estimated at $28,000 for facilities alone. Jakub spent hours

   throughout the next few weeks contacting various departments of Yale-NHH to ensure his

   coverage was in place after he notified his insurer about the injury. Unfortunately,



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   miscommunication within the Hospital caused stress and delays. Jakub's first operation was

   cancelled after he aITived on site for financial reasons even though a Yale-NHH staff member

   confirmed the coverage by phone a day before.

26. Jakub had a surgery approx. three weeks after the injury. The surgery was successful, and

   recovery took between four and five weeks. Jakub received a dean's excuse, a usual procedure

   at Yale granting students additional time to complete assignments. Yale provided no additional

   support, for example academic accommodations he was granted two years earlier for an

   unrelated reason.

27. Academic accommodations at Yale are organized by Resource Office on Disabilities ("ROD").

   Standard accommodations include extended time on tests and exams, permission to type on

   exams instead of handwriting, and ability to take exams in a separate room at ROD supervised

   by a proctor. Jakub completed the necessary paperwork but did not receive these

   accommodations. Anecdotal evidence reveals that many students struggled to organize

   accommodations in similar circumstai1ces; most often, RO D's staff promised to return to the

   student with details but did not, also after repeated reminders.

28. The injury caused significant stress and cost Jakub enormous energy and time, as he was

   responsible for arranging all visits, procedures, and coverage. Yale University provided little

   guidance or understanding.


Jakub Encountered Numerous Logistical Issues within Yale's Support System


29. Consequences of the injury dragged into December. Jakub received no exam accommodations

   from Yale's Resource Office on Disabilities, even though his circumstances were more serious

   than usual. In some courses it was impossible for Jakub to arrange such accommodations as



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    the Office requires to be notified in advance about any requests while instructors provided

    information about exams a few days in advance.

30. Jakub submitted all of his end-of-term assignments and left New Haven for China on a personal

    visit. Unbeknown to Jakub, one of his instructors was unable to open the document Jakub sent

    him with his final report. The instructor e-mailed Jakub asking to have the file re-sent.

31. At that time Jakub was already in China, and was unable to access his Yale e-mail account

    because the Chinese government blocks access to all services operated by Google. Yale uses

    Google to provide e-mail accounts to all undergraduate students.

32. Jakub arrived in the United States on January 1. Only then did he realize the instructor was

   unable to access his final report few days earlier. As a result, Jakub ultimately received a failing

   grade in that course.

33. Jakub explained the situation to the instructor, who suggested he might read Jakub's report and

   reassess the grade upon request of his college dean, Jessie Hill. Jakub provided detailed

   information about his situation to her but she took no action.


"Petition the Committee"


34. On January 3, Jakub received a withdrawal letter dated January 2. International students on

   student visa (F-1) must leave the U.S. within 15 days from stated withdrawal date. Yale did

   not explain how and who specifically determined the withdrawal date, or why it delayed

   notifying Jakub.

35. The letter did not mention any possibility of appeal, explanation, or contact information to an

   administrator Jakub might explained the situation to.




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36. Jessie Hill also did not advise Jakub whether he was entitled to appeal, hearing, conversation

   with an advisor, or how should he proceed in case of disagreement. Should the withdrawal be

   imposed in error, or its consequences be unambiguously detrimental, a student would struggle

   to identify any possible steps he could take.

37. Jakub insisted on talking over the phone with his dean; she was only available three days later.

   Before the conversation, he sent her a detailed description of all relevant circumstances and

   explicitly asked how to seek an appeal. During the conversation, she verbally advised Jakub to

   petition the Committee on Honors and Academic Standing ("CHAS", "Committee"). She

   offered to pass the petition to the Committee but provided no additional information regarding,

   inter alia, what the Committee is, who sits on the Committee, what guidelines or principles the

   Committee makes decisions on, or when it might arrive at the decision. She was unable to point

   Jakub to any document where he might find any of these pieces of information. Jakub searched

   the Internet extensively but also found no concrete information.

38. Not knowing what he is petitioning for, Jakub wrote a 6200-word-long document, and spent

   approx. thirty hours on writing, proofreading, and fact-checking to ensure all facts are correct,

   and that he included all information a reader might want to find about him. Among others, he

   (a) provided nine clearly separated arguments against the withdrawal imposed, (b) described

   his accident in detail and declared its consequences are unlikely to impact his performance the

   following semester, (c) explained what accommodations Yale failed to provide, (d) attached a

   detailed academic plan which showed he is likely to graduate on time iff he is petition is

   granted. He also provided clear contact information, and specific dates and times when he is

   available to explain his situation in person.




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39. Jakub asked three people who knew him well to write letters to the Committee. Jakub never

    learned the contents of any letter, and engineered a way to never be able to read them. Jakub

    also included phone numbers of senior faculty members he worked with who could speak to

    his integrity and character, and described the extent of their joint work.

40. Jakub submitted his document via e-mail to Jessie Hill, who forwarded it to the Committee.

    Jakub is prepared to provide an exact copy of his petition under seal, upon the Court's request.



Less-than-happy return to New Haven, Connecticut



41. Jakub returned to New Haven at night of Sunday, January 12. He earlier attended two

    conferences as part of his research work, one in San Diego, the other in Las Vegas.

42. On Monday morning, Jakub attempted to retrieve his personal property he left in the old dorm

    in Benjamin Franklin College. He was unable to take most of his items when the fall term

    ended a month earlier. Jakub notified the College staff when he left New Haven in December,

   and hoped to receive a full day to clean his room.

43. Unfortunately, he was given forty minutes to take most important items and leave all of his

   personal property behind, without being ever able to receive it back.

44. Retrieving his personal property was only possible because a friendly college worker helped

   him gain access to the room. In the process, Jakub learned that he is not welcome at the College,

   and that Jessie Hill was unhappy that college workers wanted to help Jakub.

45. Jessie Hill knew about Jakub's difficult situation but did not meet, talk or call Jakub after his

   return to New Haven.


A Black Box Committee: who,. where, when, and how makes decision


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46. On Monday evening, Mark Schenker, the Committee's chairman notified Jakub via e-mail that

   his petition was denied "without dissent". He did not specify what this phrase actually means,

   or how Committee an-ived at this decision.

47. He provided no justification for Committee's decision, no response to any of Jakub's

   arguments, or anything else Jakub included in his petition. To his best knowledge, Committee

   conducted no fact-finding or any investigation. It did not contact his academic advisor, and

   provided no opportunity for Jakub to be heard.

48. Jakub suffered and continues to suffer depression and emotional distress since that day, as

   Committee unfairly ignored everything he spent years of work at and described in detail, and

   unusually difficult circumstances following Jakub's accident. It also failed to address in any

   way, in writing or orally, Yale's procedural and substantive errors regarding the academic

   warning or accommodations.

49. Committee did not disclose its procedures, and Jakub did not know who could appeal the

   decision to, how much time is allowed for the appeal, or how to submit such an appeal.

50. Mark Schenker offered no material information about the Committee, or who Jakub might

   discuss this matter with. He knew at all times that Jakub must leave the United States in three

   days for immigration reasons; in fact, Jakub expressly stated this in his petition.

51. Jessie Hill forwarded an updated withdrawal letter to Jakub the following morning without

   addressing any of his reasonable concerns.

52. Mark Schenker's second e-mail, which Jakub received on Wednesday, was similarly vague

   and inconsistent. He assured Jakub that all members reviewed his petition "with care" but the

   facts he offered directly contradicted what Jakub previously wrote in the petition, and

   suggested that Committee never read what Jakub wrote.



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53. For example, he stated that Jakub "had been informed of this consequence [Academic

   Warning] by the BF Dean's Office senior administrative assistant in spring 2019". Jakub

   explicitly wrote in his petition this has never happened. He also alleged that Jessie Hill gave

   Jakub an official letter in August, which never happened.

54. Jakub clearly and unambiguously wrote in his petition that he is not requesting any grade

   changes or grade reassessments, as he was advised against it. Still, Committee wrote that "In

   the end, the Committee could find no grounds for granting you the exception you were seeking

   and so voted without dissent not to approve your request. As a result, the grade of F recorded

   for you in ECON 456 will stand"

55. Committee did not release any report or other document explaining the merits of its decision.

56. Mark Schenker ignored or refused all requests to produce Committee's decision-making

   procedures, internal rules, reports, or the cover sheet written by Jessie Hill that was attached

   to Jakub's file. He refused to further investigate, and suggested he is not in the power to change

   Committee's decisions. Yale's website (Exhibit 1) lists Mark as the only contact for all matters

   related to the Committee. Upon knowledge and belief, Mark Schenker has been the

   Committee's Chairman since at least 2000.

57. Committee on Academic Performance ("CAP"), an analogous committee at Massachusetts

   Institute of Technology, has a comprehensive website written in plain language which

   specifies, inter alia:

   a) Information about all members of the Committee;

   b) Committee's headquarters (specific room);

   c) Contact information (e-mail and phone) to Committee's Administrator;

   d) Alternative contact information, should the Administrator be unresponsive;



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    e) Defined classes of decisions the Committee makes, each with detailed description;

    f) 8-page guide for students on how to submit a petition, both as .pdf as .docx;

    g) Instructions on what to address in a petition;

    h) Decision-making guidelines for all committee members;

    i) All types of petitions students may submit, including pdf files with instructions.

58. Yale's Committee discloses none of a) - i). A post factum comprehensive online search

    produced no meaningful results except for Exhibit 1.

59. Yale University offers no statistics or any other empirical information about withdrawals. To

    Jakub's best knowledge, Yale claimed to never keep such statistics internally.


How Yale Implements Withdrawals: An Insider Guide


60. Jakub's transcript was sealed by 9:00 am on Tuesday, the morning after he learned about the

   Committee's decision. Nonetheless, he continues to receive course-related messages from

   instructors in courses Jakub selected days earlier. One instructor individually reached out to

   Jakub asking whether he is still planning to enroll.

61. Jakub was advised that he his card would be deactivated in 72 hours from evening on Monday,

   January 13. His Yale ID card was cancelled on Wednesday, January 15, less than 48 hours into

   that period. At Yale, a student card is necessary to access most buildings, libraries, or common

   spaces.

62. Jakub inquired whether it is possible to appeal the Committee's decision within the University,

   for example to Dean Marvin Chun or President Peter Salovey. He was advised against it

   because the Committee enjoyed "excellent reputation" and his chances of success were low.




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63. Jessie Hill encouraged Jakub to "contact her for assistance" but ignored his requests for

   guidance. Jakub attempted to locate a person who can explain his concerns regarding little

   transparency surrounding his withdrawal but found nobody. To his best knowledge, no

   procedures or institutions exists within Yale College in such cases.

64. Yale advised Jakub that his immigration record could not be reactivated if his efforts to appeal

   were successful. Jakub later learned this is false, and Yale can request a status change at no

   charge.

65. Jakub continued to be overwhelmed by time pressure and apparent apathy of Yale's staff.

   Relentless, Jakub rented a car, traveled to Canada and returned to the United States on a visitor

   visa in his old, previously cancelled passport.

66. On return, Jakub attempted to contact Jessie Hill and Mark Schenker. Both declined to speak

   or meet in person and provided vague, incomplete answers to Jakub's questions about his

   dissatisfaction at Yale's handling of his case, or to any other questions he had.


Yale Continues to Provide Conflicting, Ambiguous Information to Jakub


67. Yale University continues to provide unclear, contradictory information to Jakub about, inter

   alia:

   a) eligibility for mental health & counseling;

   b) coverage for his scheduled appointments at mental health & counseling in January 2020;

   c) access to yale.edu e-mail and related services, which include Google Docs, Drive, Sheets,

       Slides, and more;

   d) University rules about physical presence on campus.




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68. Per Undergraduate Regulations, Jakub may not use University libraries, attend courses, or be

   physically present on campus for any reason without Jessie Hill's written permission. In the

   same time, he receives multiple requests to retrieve his mail from the college office every week.


Jakub Suffered Severe Consequences Following Yale's Mis tr atment of His Case


69. As a result of Defendants' discriminatory and unlawful conduct, Jakub was denied an

   opportunity to continue the education to which he devoted years of hard work.

70. Forced withdrawal had severe consequences for Jakub. He continues to suffer from insomnia,

   alienation, anxiety, and depression. Jessie Hill knew that Jakub has been on medication for

   depression and attention deficit disorder but did not provide any help during this difficult

   process.

71. Yale's conduct was particularly detrimental to Jakub because he is an international student on

   full financial aid. Yale knew at all times that Jakub has limited time to resolve his matters but

   failed to adjust the grace period, which was practicable, to allow more time for investigating

   Jakub's claims.

72. Jakub previously made financial commitments in advance of the spring semester, which he

   expected to cover with his financial aid. He is currently unable to meet these commitments.

73. Should his @yale.edu be terminated without notice, he would lose access to his e-mail,

   documents, presentations, and other content he devoted years of hard work to. Yale continues

   to provide conflicting answers on whether Jakub will lose access or not: an IT worker

   confirmed no issues with his account but anecdotal evidence suggests Yale has no clearly

   defined internal policies for deleting accounts.




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74. Jakub is unable to work or study on his current visa, which limits how long he can remain in

       the United States.

75. Jakub was denied the opportunity to seek employment permission following his graduation,

       which would allow him to continue his education in a professional setting.

76. Jakub was denied the opportunity to participate in his 2020 graduation, or to continue

       enrollment according to the plan he prepared and acted on months in advance.

77. Jakub's financial situation deteriorated significantly because he did not receive the financial

       aid he was awarded, cannot continue his employment. In the same time, he incurred additional

       expenses to be able to pursue his case, and faces previously made financial commitments.

78. Yale continues to openly make statements that directly contradict Jakub's experience, which

       further reinforces his frustration at University's apathy and broken promises:


                   "Students live in or are affiliated with a residential college with a head

                   of college and a dean who are always (ready) to help with any problem,

                   and to find ways and accommodations to help students thrive and

                   progress. The mental health counseling, if needed, is free and provided

                   by excellent and caring clinicians." 1


                        "Yale fully and effectively supports its students regardless of a

                   disability, and discriminates against none. Its policies on withdrawal and

                   reinstatement reflect careful study and deliberation, and community

                   feedback ." 2



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    h p://www.westhartfordnews.com/news/rnport vale fa lls-to meet-w ade•lll rnental -heaJth •
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A Non-Exhaustive List of Dcfoudants' Wrongful Actions


79. Defendants failed to conduct an exhaustive investigation or assessment of Jakub's situation.

80. Defendants failed to provide any information about how the Committee made its decision, and

   instead knowingly presenting incorrect statements as true knowing that Jakub could not take

   any action in response.

81. Defendants provided insufficient time for Jakub to take any action whatsoever before he was

   forced to leave the country.

82. Defendants created and developed an atmosphere of insecurity and uncertainty, which

   dispirited Jakub in the most vulnerable moments where he needed Yale's support the most.

83. Defendants provided Jakub with fewer opp01iunities to act on his case than they offer to

   students facing disciplinary charges for serious breaches of conduct.

84. Defendants have provided inconsistent and unclear answers to Jakub's questions, which

   obstructed his attempts to seek reasonable resolution of his case.

85. All of these errors, individually and when considered together, unfairly and materially affected

   the outcome of Jakub's case.




                                            CLAIMS


                                            COUNT!

                                   BREACH OF CONTRACT

86. Plaintiff incorporates by reference the allegations contained in other paragraphs.

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87. Jakub's accepting Yale's offer of admission and moving to the United States should be

   construed as a contract.

88. Jakub was repeatedly promised, in writing and orally, that Yale is committed to helping

   international students thrive on campus.


               I write now to affirm Yale's steadfast commitment to our international

               students and scholars; they are vital to the university community.( ... ) We

               pair our unequivocal commitment to careful research stewardship with

               another: international students and scholars are welcome and respected

               on our campus."


                                                             Peter Salovey, Jun 06, 2019


89. As a member of the Yale community, Jakub has certain rights that are contractual in nature.

90. Yale University breached its contract by not following or disclosing guidelines for protecting

   Jakub's civil rights.

91. Yale University breached its agreement by failing to provide Jakub with timely information he

   needed to make reasonable decisions regarding his academic choices.

92. Yale University breached its agreement by creating hostile atmosphere in his residential

   college, where he felt alienated and unwelcome by his college dean, Jessie Hill.

93. Yale University breached its agreement by providing conflicting, illogical answers to all

   questions regarding his situation, and refusing to provide reasonable support in the face of

   unusual circumstances.




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94. Yale University breached its contract with Jakub by refusing to consider whether the

   Committee's decision is arbitrary, supported by the evidence, and not providing any way to

   request such action.

95. Yale's incomplete and arbitrary actions breached the binding contract with Jakub by failing to

   provide the guarantees of due process and fundamental fairness, and breaking the implied

   covenant of good faith and fair dealing.

96. Yale breached its contract withJakub by improperly investigating withdrawals at Yale College,

   providing scant resources to the dismissed student in his most vulnerable moment, and no

   avenue for meaningful review of unexplained and unclear decision.

97. Yale's dismissal of Jakub will preclude him from completing his undergraduate degree and

   will negatively contribute to his overall education.

98. As a direct and foreseeable consequence of these breaches, Jakub has sustained damages.

99. Yale's secret adjudicatory process is contrary to Jakub's reasonable expectations.

100.   Yale's decision to automatically withdraw Jakub from the University, failure to provide a

   mechanism to explain his situation is in violation of Jakub's procedural and substantive

   contractual rights and reasonable expectations.

101.   Yale's decision to withdraw Jakub from the University is capricious and arbitrary.

102.   As a direct and proximate result of the foregoing events of breach, Jakub faces imminent

   irreparable harm to his emotional well-being, ongoing education and professional career goals

  for which no adequate legal remedy exists. Jakub intends to motion this Distinguished Court

  for injunctive relief.


                                          COUNT II
                                         NEGLIGENCE



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103.   Plaintiff incorporates by reference the allegations contained in other paragraphs.

104.   When Jakub made academic choices, he relied on defendants' duty to provide him with

   information that might materially impact Jakub's decision.

105.   When Jakub appealed the involuntary withdrawal, he relied on defendants' duty to protect

   him from reasonable harm .

106.   Defendants knew, or was negligent in not knowing, that it adopted no mechanism or avenue

   for appeal to Jakub, or any other person in Jakub's situation.

107.   Defendants knew that Jakub has been treated for depression, and that Jakub reasonably

   relied on their duty to protect him from harm.

108.   Defendants breached their duty of reasonable care.

109.   A reasonable person would have suffered severe emotional distress under the same or

   similar circumstances.

110.   As a result, Jakub is entitled to recover damages, to be determined at trial, plus attorney

   fees and costs.




                                   PRAYER FOR RELIEF



Jakub demands judgment against Yale University and remaining defendants as follows :



   •   Produce and publicly release all statistics regarding the number of students withdrawn;

   •   Compel Yale University to reassess procedures for adjudicating academic withdrawal, and

       publicly audit how previously used policies were implemented, if such policies existed;




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    •   Restrain and enjoin Yale University from denying Jakub the opportunities and benefits

        afforded undergraduate students, including access to libraries and reading rooms;

    •   Restrain and enjoin Defendant, Yale University, from implementing Jakub's dismissal;

    •   Admitting Jakub as a student in good academic standing;

    •   Award Jakub damages for breach of contract in an amount exceeding $314,159, to be

        determined at trial;

    •   Award Jakub damages for emotional distress in an amount exceeding $121,232, to be

        determined at trial;

    •   Compel Yale University to introduce and implement all-university Plain Language policy,

        similar to the federal plain language policies, in all communication with students;

    •   Compel Yale University to investigate all instances of involuntary withdrawals it executed

        since the beginning of spring 2016 term, and determine the extent to which Yale's

        employees contributed to these dismissals;

    •   Award Jakub damages in an amount to be determined at trial for past and future economic

        losses, loss of educational and career opportunities, attorneys' fees, expenses, costs and

        disbursements;

    •   Award punitive damages for intentionally inflicting emotional distress upon Jakub.



                                         JURY DEMAND



Plaintiff hereby demands a trial by jury on all claims so triable.




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                                        Respectfully submitted,




                                        Jakub Madej

                                        The Plaintiff



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                         Exhibit 1




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Handbool( for Directors of
Undergraduate Studies in Yale
College 2019-2020
Committee on Honors and Academic Standing
The Yale College Faculty has charged the Committee on Honors and Academic Standing to act for it and
with its authority in matters of academic rules and standards. A chief role of the Committee on Honors and
Academic Standing is thus to enforce, interpret, and apply the academic regulations of Yale College. It also
has the responsibilities of administering the award of General Honors and Distinction in the Major and of
considering proposals for Special Term Courses and Special Divisional Majors.

From 1926 to 1981, both academic and disciplinary matters were handled by the Yale College Executive
Committee. In 1981 the Yale College Faculty changed the name of the Committee on Honors and Special
Projects to the Committee on Honors and Academic Standing, committing to it all of the academic
business previously delegated to the Executive Committee. The Yale College Executive Committee is now
solely a disciplinary committee. For more information on the Executive Committee as presently
constituted, see The Residential College Deans.

The Committee on Honors and Academic Standing meets about twice a month during the regular academic
year. A good deal of the routine business of the committee is delegated to the chair, but the full committee
decides any matter that raises a question of academic policy or that is in some other way unusual. The
chair of the committee, Dean Mark J. Schenker, is in general the person to consult about any of the
academic regulations of Yale College. All questions about General Honors, Distinction in the Major, Special
Divisional Majors, or Special Term Courses may also be referred to him.

Topics in this section:

 • Special Academic Problems
 • Routine Matters
 • Grading Disputes
 • Honors and Distinction
 • Special Divisional Majors
 • Special Term Courses




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